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                    EXHIBIT 3
Xfinity Connect Reminder_ Alexander Stevko has invited you to collab...   https://connect.xfinity.com/appsuite/v=7.10.6-38.20240130.130837/prin...

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             Alexander Stevko <noreply@box.com>                                                                 3/18/2024 1:08 AM

             Reminder: Alexander Stevko has invited you to collaborate on Box
             To jizen@comcast.net




                                                                                                            Sign Up




                                   Alexander Stevko invited you to collaborate on:
                                          Shearer Productions March 2024

                                      Reminder: Alexander Stevko is waiting for your reply.


                                                                  Accept Invite




                             To receive access to your shared documents, and to start securely
                            storing and collaborating on all of your content, please create a free
                              Box account. This free account comes with 10 GB of storage to:




                                               Store your files securely



                                               Collaborate seamlessly



                                               Access and edit files from anywhere




1 of 2                                                                                                                        3/28/2024, 7:42 PM
Xfinity Connect Reminder_ Alexander Stevko has invited you to collab...   https://connect.xfinity.com/appsuite/v=7.10.6-38.20240130.130837/prin...

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